Case 2:17-cv-03464-PSG-AS Document 58 Filed 10/22/18 Page 1 of 3 Page ID #:424



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 13   Attorneys for Plaintiff,
 14   Thomas Ramsden

 15
                           UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17
 18   THOMAS RAMSDEN,                         Case No.: 2:17-cv-03464-PSG-AS
 19
                       Plaintiff,             STIPULATION TO DISMISS
 20                                           ACTION WITH PREJUDICE
            v.
 21
 22   OCWEN LOAN SERVICING, LLC,              Hon. Philip S. Gutierrez

 23                                 :
 24                    Defendant.
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 26
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 28
                                                             STIPULATION TO DISMISS ACTION
                                                                                WITH PREJUDICE
                                                                  Case No.: 2:17-cv-03464-PSG-AS
Case 2:17-cv-03464-PSG-AS Document 58 Filed 10/22/18 Page 2 of 3 Page ID #:425



  1          Plaintiff, THOMAS RAMSDEN (“Plaintiff”), and Defendant, OCWEN
  2   LOAN SERCIVING, LLC (“Defendant”) (jointly the “Parties”), hereby move this
  3   Honorable Court to dismiss the above-entitled action with prejudice. In support of
  4   this joint motion, the Parties state as follows:
  5   1.    The Parties have reached a settlement in this action;
  6   2.    The Parties to this litigation have jointly entered into this Stipulation;
  7   3.    Defendant, without acknowledging liability or wrongdoing, and Plaintiff,
  8         without acknowledging liability or wrongdoing, have agreed to fully and
  9         completely settle this matter;
 10   4.    The Parties are to bear their own fees and costs;
 11   5.    The settlement between Plaintiff and Defendant is memorialized in a written
 12         settlement agreement, now fully executed by Plaintiff and the Defendant; and
 13   6.    The Parties agree that this Court may proceed to dismiss this action in its
 14         entirety with prejudice as to Plaintiff’s individual claims, pursuant to Fed. R.
 15         Civ. P. 41(a)(1)(A)(ii).
 16          WHEREFORE, the Parties jointly move this Court to dismiss the above-
 17   captioned action with prejudice.
 18
 19   Dated: October 22, 2018                  KAZEROUNI LAW GROUP, APC
 20
 21                                            By:       /s Emily C. Beecham
                                                         Emily C. Beecham, Esq.
 22
                                                         Attorney for Plaintiff,
 23                                                      Thomas Ramsden
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      ///
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                                                                    STIPULATION TO DISMISS ACTION
                                                                                       WITH PREJUDICE
                                                                         Case No.: 2:17-cv-03464-PSG-AS
Case 2:17-cv-03464-PSG-AS Document 58 Filed 10/22/18 Page 3 of 3 Page ID #:426



  1   Dated: October 22, 2018                  TROUTMAN SANDERS LLP

  2                                            By:     /s Virginia Bell Flynn
  3                                                    Virginia Bell Flynn, Esq.
                                                       Attorney for Defendant,
  4                                                    Ocwen Loan Servicing, LLC
  5
  6
                                  ATTESTATION OF FILER
  7
            Pursuant to local rules, the undersigned hereby attests that all parties have
  8
      concurred in the filing of this stipulation.
  9
 10                                                    /s Emily C. Beecham
 11                                                    Emily C. Beecham, Esq.

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                                                                  STIPULATION TO DISMISS ACTION
                                                                                     WITH PREJUDICE
                                                                       Case No.: 2:17-cv-03464-PSG-AS
